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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                        Case No. 1:23-cr-070 (CJN)
                           )
JESSE JAMES RUMSON,        )
                           )
                Defendant. )

                  NOTICE OF DEFENDANT’S REPLY TO ECF No. 100

     Comes now the Defendant, JESSE JAMES RUMSON, by and through undersigned counsel,

and respectfully provides Notice that his Reply to the Government’s Response at ECF No. 100

will be filed today as a Motion with attachments for a Sealed Reply.

     Given information and argument that is not of public interest, but is now required in the

Reply given that the government ignored the medical seriousness of what was previously provided,

and in its Response directly cited to material submitted under seal. The Reply will be submitted

with a Motion to seal, even understanding the AUSA may disregard the label.


Dated November 18, 2024                     Respectfully submitted,

                                            /s/ Carolyn A. Stewart
                                            Carolyn A. Stewart, D.D.C. Bar No. FL-0098
                                            Defense Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify on the 18th day of NOVEMBER 2024, a copy of the foregoing was

served upon all parties as forwarded through the Electronic Case Filing (ECF) System.

                                            /s/ Carolyn Stewart
                                            Carolyn Stewart, Esq.




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